                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
                                               )     Case No. 2:15CR00018-011
                                               )
 v.                                            )             OPINION
                                               )
 RALPH MARLOW,                                 )     By: James P. Jones
                                               )     United States District Judge
                  Defendant.                   )

       Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
 United States; Ralph Marlow, Defendant Pro Se.

       The defendant, proceeding pro se, has filed a motion seeking relief under 28

 U.S.C. § 2255. The United States has filed a motion to dismiss, to which the

 movant has responded. For the reasons stated, I will grant the motion to dismiss

 and dismiss the § 2255 motion.

       After pleading guilty, the defendant was sentenced by this court on January

 5, 2017, to a total term of 123 months imprisonment, consisting of 63 months on

 Count One of the Second Superseding Indictment, to be followed by a term of 60

 months on Count Sixteen. Count One charged the defendant with conspiring to

 distribute methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846 and 841(b)(1)(C), and Count Sixteen charged him with possessing a

 firearm in furtherance of a drug trafficking offense, in violation of 18 U.S.C. §

 924(c).


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       In his § 2255 motion, the defendant contends that his attorney was

 constitutionally ineffective in three difference ways, as follows: (1) he did not

 correctly advise him of the elements of the § 924(c) charge contained in Count

 Sixteen; (2) he failed to challenge Count Sixteen as duplicitous; and (3) he failed to

 challenge Count Sixteen on the ground that it did not charge a valid offense.

       To state a viable claim for relief under § 2255, a defendant must prove: (1)

 that his sentence was “imposed in violation of the Constitution or laws of the

 United States”; (2) that “the court was without jurisdiction to impose such

 sentence”; or (3) that “the sentence was in excess of the maximum authorized by

 law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). The movant

 bears the burden of proving grounds for a collateral attack by a preponderance of

 the evidence. Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958).

       Criminal defendants have a Sixth Amendment right to effective legal

 assistance. Strickland v. Washington, 466 U.S. 668, 687 (1984).           Ineffective

 assistance claims, however, are not lightly granted — “[t]he benchmark for judging

 any claim of ineffectiveness must be whether counsel's conduct so undermined the

 proper functioning of the adversarial process that the [proceeding] cannot be relied

 on as having produced a just result.” Id. at 686. To that end, a defendant must

 satisfy a two-prong analysis showing both that counsel’s performance fell below an

 objective standard of reasonableness and that the defendant was prejudiced by


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 counsel’s alleged deficient performance. Id. at 687. To satisfy the prejudice prong

 of Stickland, a defendant must show that there is a reasonable probability that, but

 for counsel’s unprofessional error, the outcome of the proceeding would have been

 different. Id. at 694.

         As to his first ground of attack upon his attorney’s representation, the

 defendant contends that his attorney advised him that he had no defense to the §

 924(c) charge because he had been caught with drugs while in possession of

 firearms.    The defendant contends that the lawyer thus confused the elements of

 18 U.S.C. § 922(g) (procession of a firearm by a felon) with those of § 924(c).

 However, the transcript of the defendant’s change of plea hearing on May 16,

 2017, (held with a codefendant) reveals the following colloquy with the court:

             THE COURT: Let me go over with you, gentlemen, the charge
       or charges to which you wish to plead guilty.

       ....

              Now, count 16, as to Mr. Marlow, charges that on or about and
       between January 1, 2014 and November 24, 2015 that Mr. Marlow
       knowingly used and carried during and in relation to and possessed in
       furtherance of a drug trafficking crime, namely the crime set forth in
       count one, a firearm.

              If the case went to trial as to that charge, in order to convict
       you, Mr. Marlow, that count of, that count 16, the Government would
       have to prove beyond a reasonable doubt that you used or carried a
       firearm in relation to the drug trafficking crime as set forth in count
       one. It means that you actively employed the firearm in committing
       that offense.


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              As an alternative, the Government would be required to prove
       beyond a reasonable doubt that you knowingly possessed the firearm,
       meaning that you knew that you had a firearm, and that that
       possession furthered a drug trafficking crime. That means that the
       firearm helped further advance the drug trafficking crime. Mere
       possession of a firearm is not sufficient under this count.

             Now, let me ask you both, do you understand what the
       Government would have to prove in order to convict you if this case
       went to trial?

       ....

              DEFENDANT MARLOW: Yes.

              THE COURT: Are you pleading guilty because you are, in fact,
       guilty?

       ....

              DEFENDANT MARLOW: Yes, sir.

 Tr. 14-16, ECF No. 726.

       Absent extraordinary circumstances, “allegations in a § 2255 motion that

 directly contradict the petitioner’s sworn statements made during a properly

 conducted Rule 11 colloquy are always palpably incredible and patently frivolous

 or false.” United States v. Lemaster, 403 F.3d 216, 221 (4th Cir. 2005) (internal

 quotation marks omitted). It is clear that the defendant was properly advised of the

 elements of a § 924(c) crime, and thus, even accepting for the present purposes his

 claim as to what his attorney told him, he cannot show that he was prejudiced by

 his attorney’s advice.

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       Count Sixteen of the Second Superseding Indictment charged as follows:

             The Grand Jury charges that:

             1. On or about and between January 1, 2014, and November
       24, 2015, in the Western District of Virginia and elsewhere, RALPH
       MARLOW knowingly used and carried during and in relation to, and
       possessed in furtherance of, a drug trafficking crime for which he may
       be prosecuted in a court of the United States (conspiracy to distribute
       and possess with the intent to distribute a substance containing
       methamphetamine, as set forth in Count One), a firearm.

             2. All in violation of Title18, United States Code, Section
       924(c).

 Second Superseding Indictment 7, ECF No. 206. The count is not duplicitous, but

 merely charges different ways of committing the same crime, in accord with the

 statute. It is not a non-existing crime, as alleged by the defendant. Accordingly,

 his attorney did not err in failing to advise him otherwise and his second and third

 grounds are without merit.

       For these reasons, the United States’ motion to dismiss will be granted and

 the § 2255 motion will be dismissed. A separate final order will be entered

 herewith.

                                               DATED: November 7, 2018

                                               /s/ James P. Jones
                                               United States District Judge




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